AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
District of South Carolina

In the Matter of the Search of

(Briefly ese ie the property to am searches _
or identify the person by name and address, x 22

7 ify mb Py ) Case No. 4? (3 -a-~ (03> IBA
Information associated with the Facetime account used

by cellular device assigned number 305-401-3870 that is

stored at premises controlled by APPLE, INC.

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APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A.

located inthe | Northern District of California , there is now concealed (identify the
person or describe the property to be seized):

See Attachment B.

 

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
W evidence of a crime;

1 contraband, fruits of crime, or other items illegally possessed;
©) property designed for use, intended for use, or used in committing a crime;
C1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
21 USC 841, 843b, 846, 952 Possession with intent to distribute controlled substance(s);conspiracy to possess
and 963. with intent to distribute import into the United States controlled substance(s); use

of a communication facility to facility a felony drug trafficking offense.

The Bpplication i is based on these facts:
See affidavit

( Continued on the attached sheet.

1 Delayed notice of days (give exact ending date if more than 30 days: ) is requested

under 18 U.S.C. § 3103a, the basis of which is set forth on the attached lise els
ull Com

Applicant's signature

 

Special Agent Lisa V. Quillen, FBI

Printed name and title

Sworn to before me and signed in my presence. )}

Date: 10/19/2018 ALY Cae // Ve _&
- ~ Judge”s signaturey ~~ —
City and state: Greenville, South Carolina Jacquelyn D. Austin, U.S. Magistrate Judge

Printed name and title

 
